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October 30, 2019
                                                                                CLERK, U.S. DISTRICT COURT
                                                                                WESTERN DISTRICT OF TEXAS
Meredith Nunis                                                                   BY
                                                                                                DEPUTY CLERK
4517 Triangle Aye, Apt 517
Austin, TX 78751




US District Judge Lee Yeakel
           5th
501 West       Street, Ste 7300
Austin, TX 78701

Dear Judge Yeakel:

I   would like to encourage you to consider a stay of execution and   a   retrial for Rodney Reed.

Based upon the brief filed by the former and current law enforcement officers, I feel that a stay is in
order. As a citizen of the state of Texas, I believe that no person should be executed when there
remains a doubt of their guilt. The Court and a jury should hear evidence from DNA done on the murder
weaponas I understand it, the weapon has been mishandled, but if Mr. Reed's DNA is not on it, that
would strongly, if not complete, prove that he did not commit the crime.

We as a people need to be sure that this man is guilty before we take his life;

Sincerely,




    eredith Nunis

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                                                                                 CHAMBERS OF
                                                                               JUDGE LEE YEAKEL
Case 1:19-cv-00794-LY Document 28 Filed 11/01/19 Page 2 of 2




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